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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

                                              )   CASE NO: 4:02cr3039
UNITED STATES OF AMERICA                      )
               Plaintiff,                     )         ORDER
                                              )   TO WITHDRAW EXHIBITS
              vs.                             )   OR TO SHOW CAUSE WHY
                                              )   EXHIBITS SHOULD NOT BE
                                              )        DESTROYED
JOSE BARAJAS-PEREZ                            )
                     Defendants.              )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for defendants, Jose

Barajas-Perez, shall either 1) withdraw the following exhibits previously submitted in this

matter within 10 business days of the date of this order, or 2) show cause why the exhibits

should not be destroyed:

              Exhibit number(s): 101

              Hearing type(s): Resentencing hearing

              Date of hearing(s): 2/14/2005

       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed

exhibits without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       February 14, 2007.



                                                  s/ Richard G. Kopf
                                                  United States District Judge
